      Case 1:18-cv-11642-VM-DCF Document 212 Filed 03/02/21 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WAYNE BALIGA, derivatively on behalf of
 LINK MOTION INC. (F/K/A NQ MOBILE INC.)

                                 Plaintiff,
                   -against-                             Civil Action No.: 1:18-cv-11642

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.), VINCENT WENYONG SHI, JIA LIAN,
 XIAO YU,                                                DECLARATION OF MICHAEL
                                                         JAMES MALONEY IN SUPPORT
                                 Defendants,             OF MOTION FOR DECLARATORY
                                                         RELIEF AND MODIFICATION OF
                   -and-
                                                         RECEIVERSHIP ORDER
 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.),

 Nominal Defendant.


       MICHAEL JAMES MALONEY declares, pursuant to 28 U.S.C. 1746, as follows:

       1.         I am an attorney duly admitted to practice law before the United States District

Court for the Southern District of New York. I am a partner of Felicello Law P.C. and counsel of

record for Vincent Wenyong Shi (“Shi”).

       2.         I make this declaration in support of the motion by Shi for a declaration that the

equitable tolling, pending dissolution of the receivership, of all statutes of limitations applicable

to claims by nominal defendant Link Motion Inc. (the “Company”) against DLA Piper LLP (US)

(“DLA”), Caryn Schechtman (“Schechtman”), and Marc A. Silverman (“Silverman”, and

together with DLA and Schechtman, the “DLA Defendants”) for legal malpractice and breach of

fiduciary duty.

       3.         Annexed hereto as Exhibit A is a copy of the engagement letter between DLA Piper

LLP (US) and the Company.




                                                  1
       Case 1:18-cv-11642-VM-DCF Document 212 Filed 03/02/21 Page 2 of 3




          4.     Annexed hereto as Exhibit B is a copy of the Verified Shareholder Derivative

Complaint filed in this action (Dkt. No. 1).

          5.     Annexed hereto as Exhibit C is a copy of the Temporary Restraining Order entered

in this action (Dkt. No. 7).

          6.     Annexed hereto as Exhibit D is a copy a joint letter filed in this action (Dkt. No.

20).

          7.     Annexed hereto as Exhibit E is a copy a stipulation filed in this action (Dkt. No.

22).

          8.     Annexed hereto as Exhibit F is a copy DLA’s letter requesting leave to withdraw

(Dkt. No. 28).

          9.     Annexed hereto as Exhibit G is a copy the Declaration of Vincent Wenyong Shi

dated May 21, 2019 (Dkt. No. 60).

          10.    Annexed hereto as Exhibit H is a copy of the declaration of Katharine L. B.

Pearson, dated March 3, 2020.

          11.    Annexed hereto as Exhibit I is a copy of the Court’s Memorandum and Order dated

September 4, 2020 (Dkt. No. 163).

          12.    Following issuance of the September 4, 2020 Memorandum and Order, Plaintiff

Baliga filed his Second Amended Complaint (Dkt. No. 166), in which he asserted only direct

claims.

          13.    On November 4, 2020, Shi moved to discharge the receiver (Dkt. Nos. 180-183)

and to dismiss the Second Amended Complaint (Dkt. Nos. 177-179).




                                                  2
      Case 1:18-cv-11642-VM-DCF Document 212 Filed 03/02/21 Page 3 of 3




       14.     On December 3, 2020, counsel for Baliga advised the Court that he intended to

move for an order authorizing the Receiver to convert Baliga’s ADSs into registered shares of the

Company. As of the date of this declaration, the motion remains sub judice.

       15.     As of the date of this declaration I am not aware of any action taken by the Receiver

to preserve the claims the Company may have against the DLA Defendants for legal malpractice

or breach of fiduciary duty.

       16.     Annexed hereto as Exhibit J is a copy of a draft complaint against the DLA

Defendants for legal malpractice and breach of fiduciary duty.

       17.     I was prevented from filing this motion on March 1, 2021 because of technical

problems with the NextGen CM/ECF system. Annexed hereto as Exhibit K is a copy of a notice

sent by the U.S. Courts system regarding this issue.

       18.     Wherefore, Shi respectfully requests the Court to enter an Order (i) declaring that

the statute of limitations applicable to be equitably tolled pending the dissolution of the

receivership all statutes of limitations applicable to claims by the Company against the DLA

Defendants for legal malpractice and, in the alternative, breach of fiduciary duty; and (ii)

modifying paragraph 2(e) of the receivership order (Dkt. No. 26) to grant Shi the authority to retain

counsel on behalf of the Company to commence an action against the DLA Defendants for the

Claims.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on: March 1, 2021

                                                              /s/ Michael James Maloney
                                                              Michael James Maloney




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